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 8
                                 UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                    SAN FRANCISCO DIVISION
11

12
     UNITED STATES OF AMERICA,                   Case No. C 17-2048 WHA
13   ex rel. ROGER B. SCHAGRIN,
                                                 NOTICE OF MOTION AND MOTION
14                    Relator,
                                                 TO DISMISS COMPLAINT, OR, IN
            v.                                   THE ALTERNATIVE, REQUEST FOR
15                                               STAY; MEMORANDUM OF POINTS
     NEXTRACKER, INC.                            AND AUTHORITIES IN SUPPORT
16
                      Defendant.                 THEREOF
17
                                                 Complaint: April 12, 2017
18                                               Complaint Unsealed: December 12, 2017
                                                 CMC: April 26, 2018
19
20                                               Date:       April 26, 2018
                                                 Time:       8:00 a.m.
21                                               Judge:      Honorable William Alsup
                                                 Dept.:      Courtroom 12, 19th Floor
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                                                                  MOTION TO DISMISS COMPLAINT
                                                                   CASE NO.: CV-17-2048 WHA
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                                                                           -v-                                  CASE NO.: CV-17-2048 WHA
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 1                                         NOTICE OF MOTION

 2          PLEASE TAKE NOTICE that on April 26, 2018, at 8:00 am or as soon thereafter as the

 3   matter may be heard before the United States District Court for the Northern District of

 4   California, Defendant NEXTracker, Inc. (“NEXTracker”) will and hereby does move this Court,

 5   pursuant to Rules 8, 9(b), 12(b)(1), and 12(b)(6) of the Federal Rules of Civil Procedure, for an

 6   order dismissing each claim in the Complaint of Plaintiff-Relator Roger B. Schagrin (“Relator”).

 7   The Complaint alleges violations of the False Claim Act, 31 U.S.C. § 3729, et seq., but these

 8   violations are not pleaded with particularity. Moreover, the claims in the complaint are barred by

 9   the False Claims Act statute. Therefore, the Complaint should be dismissed pursuant to Rule 8,
10   Rule 9(b), Rule 12(b)(1), and Rule 12(b)(6).

11          In the alternative, NEXTracker seeks an order staying the case pursuant to the primary

12   jurisdiction doctrine.

13          This motion is based on this Notice of Motion, the Memorandum of Points and

14   Authorities below, the Request for Judicial Notice filed herewith, the Declaration of Warrington

15   Parker, all pleadings, records and papers on file in this action, and such other and further oral

16   argument or documentary evidence as may be presented at or before the hearing.

17                                STATEMENT OF RELIEF SOUGHT

18          NEXTracker by this motion seeks dismissal of the Complaint or, alternatively, a stay of

19   all proceedings.
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2                                    PRELIMINARY STATEMENT

 3          Relator Roger B. Schagrin (“Relator”) claims that NEXTracker, Inc. (“NEXTracker”) has

 4   unlawfully failed to pay antidumping and countervailing duties on its imports from China of what

 5   Relator alleges to be circular welded pipe in violation of the False Claims Act (“FCA”).

 6          Prior to the April 2017 filing of Relator’s Complaint, however, the U.S. Customs and

 7   Border Protection (“CBP”) knew that NEXTracker was not treating the imports at issue as

 8   dutiable. In 2016, Relator already filed an allegation with the CBP on behalf of Wheatland

 9   Tubing Company (“Wheatland”) making the same allegations that are outlined in the Complaint.
10   The government has already been made aware of this issue, and Relator should not get a second

11   bite at the apple. The government action bar renders this Court without jurisdiction.

12          Another bar prevents consideration of this Complaint: the public disclosure bar. As

13   Relator admits in his Complaint, his claims are based on a compilation of publicly available

14   information. A FCA claim is barred when that is the case. The FCA is intended to incentivize

15   the pursuit of claims that could not be discovered, not claims that are based on information that

16   has been or can be gathered from public sources.

17          Separately, the Complaint fails to meet Rule 9(b) and Rule 8 pleading standards. With

18   regard to Rule 9(b), Relator asserts on “information and belief” that NEXTracker’s imports are

19   subject to, and not excluded from, antidumping and countervailing duties. However, Relator
20   provides no factual basis for these “information and belief” allegations. Rule 9(b)’s heightened

21   pleading requirements—which apply to the FCA claims—mandate that there be facts alleged that

22   indicate the bases for “information and belief” allegations. That is missing here, and the

23   Complaint should be dismissed for this reason.

24          Rule 8 standards also require dismissal. In order to be liable under the FCA, a defendant

25   must act with scienter, i.e., knowingly act wrongly. While scienter need not be pleaded with

26   specificity, a complaint must at the very least allege sufficient facts that would allow this Court to

27   draw a plausible inference that NEXTracker knowingly falsely designated its imports. No such

28   facts are asserted. The Complaint simply avers, based on “information and belief,” that
                                                                              MOTION TO DISMISS COMPLAINT
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 1   NEXTracker falsely designated its imports. Under the case law, that is not enough.

 2            In addition, it does not suffice to allege that NEXTracker—a corporation—falsely

 3   designated its imports. Courts have rejected this type of “collective scienter theory.” Courts

 4   require allegations that reflect that at least one corporate officer had the requisite scienter at the

 5   time of the allegedly false statements. No such allegations appear in the Complaint.

 6            Finally, even before the Complaint was unsealed, NEXTracker had already filed a

 7   Request for a Scope Ruling with the U.S. Department of Commerce (“DOC”) to resolve

 8   definitively the legal question of whether the imports at issue fall within the scope of the duty

 9   orders in question. By statute, the DOC is the government agency tasked with making this
10   determination. Under these circumstances, a stay is warranted under the primary jurisdiction

11   doctrine if this Court does not dismiss the claims. A stay would allow the DOC to carry out its

12   statutory duties. Moreover, should the DOC, as expected, find that the imports are not subject to

13   duties, this case is over.

14            In sum, the Complaint should be dismissed. If the Court does not dismiss the Complaint,

15   this matter be stayed pending a determination from the DOC.

16                                        STATEMENT OF FACTS

17   I.       THE PARTIES AND NATURE OF DISPUTE
18            Parties. Defendant NEXTracker designs, manufactures, builds, and services single-axis

19   solar power production trackers. See infra at Section III, RJN Ex. 4. In order to make these solar
20   panel tracking systems, NEXTracker has imported customized mechanical tubing components,

21   Torque Tubes,1 from China. Id; see, e.g., Compl. ¶ 34.

22            Relator is a lawyer. He and his law firm represent Wheatland Tube Company

23   (“Wheatland”). On Wheatland’s behalf, Relator and his law firm have filed documents with the

24   CBP and the DOC alleging that certain NEXTracker’s Torque Tubes are subject to duties, which

25
     1
26    The Complaint alleges that the products that are the subject of the NEXTracker imports at issue
     are “circular welded pipe.” NEXTracker understands that Relator is referring to what are actually
27   NEXTracker Torque Tubes. If, for any reason, Relator fails to acknowledge this is so, Relator is
     compelled by Rule 9(b) to specifically identify the import that is at issue. See infra at Section III,
28
     A.
                                                                                MOTION TO DISMISS COMPLAINT
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 1   NEXTracker has allegedly been avoiding. See infra at Section III, A & B.

 2           Nature of Dispute. The backdrop of Relator’s FCA claim is the 2008 antidumping and

 3   countervailing duty (“AD/CVD”) orders issued by DOC. Compl. ¶¶ 22-33.2 According to

 4   Relator, the AD/CVD orders provide that imports of circular welded pipes from China are subject

 5   to AD/CVD duties. Compl. ¶¶ 25-26. As acknowledged in the Complaint, there are stated

 6   exclusions to the scope of the orders, including an explicit exclusion for mechanical tubing.

 7   Compl. ¶ 38.

 8           According to Relator, NEXTracker has imported circular welded carbon pipe subject to

 9   the AD/CVD orders and failed to pay the required AD/CVD duties.
10   II.     RELEVANT ALLEGATIONS OF COMPLAINT
11           Relator contends that between June 2014 and February 2017, NEXTracker falsely

12   designated its imports from China of what Relator claims to be circular welded pipe subject to

13   relevant AD/CVD duties, and that NEXTracker did not pay the required duties that are dictated

14   by the AD/CVD orders. Compl. ¶¶ 36, 42.

15           Relator’s contentions in this regard are based on “information and belief” and “public

16   records.” Compl. ¶¶ 34, 35, 42. According to Relator, public records indicate that NEXTracker

17   imported from China approximately 73,000 metric tons of circular welded pipe from 2014 to

18   February 2017. Compl. ¶¶ 34, 35. Based on these public records, Relator then approximates the

19   value of the imports to arrive at an Average Unit Value, which he uses as a proxy for the actual
20   value of NEXTracker’s imports. Compl. ¶ 42. Relator then does some basic mathematical

21   calculations—(Average Unit Value x the Antidumping and Countervailing duty case deposit

22   requirement x the volume of NEXTracker’s imports)—to arrive at the claimed AD/CVD duty

23   amounts owed by NEXTracker. Compl. ¶¶ 44-45.

24           Relator’s recitation of what appears in public records and his basic mathematical

25   2
       The Complaint does not identify the specific orders at issue. NEXTracker understands that the
26   orders at issue are A-570-910 and C-570-911. See Notice of Antidumping Duty Order: Circular
     Welded Carbon Quality Steel Pipe from the People’s Republic of China, 73 Fed. Reg. 42,547
27   (July 22, 2008); Circular Welded Carbon Quality Steel Pipe from the People’s Republic of
     China; Notice of Amended Final Affirmative Countervailing Duty Determination and Notice of
28
     Countervailing Duty Order, 73 Fed. Reg. 42,545 (July 22, 2008).
                                                                            MOTION TO DISMISS COMPLAINT
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 1   calculations assume that NEXTracker’s imports are subject to AD/CVD orders. As admitted by

 2   Relator, imports of mechanical tubing from China are not subject to those orders. Compl. ¶¶ 36,

 3   38; see also Notice of Antidumping Duty Order: Circular Welded Carbon Quality Steel Pipe from

 4   the People’s Republic of China, 73 Fed. Reg. 42,547 (July 22, 2008); Circular Welded Carbon

 5   Quality Steel Pipe from the People’s Republic of China: Notice of Amended Final Affirmative

 6   Countervailing Duty Determination and Notice of Countervailing Duty Order, 73 Fed. Reg. 42,

 7   545 (July 22, 2008).

 8           Relator’s sole basis for asserting that NEXTracker’s imports are subject to the AD/CVD

 9   orders is an allegation based on information and belief. Compl. ¶ 36. His sole basis for asserting
10   that NEXTracker’s imports are not subject to one of the exclusions is based on information and

11   belief. Compl. ¶ 38. No factual basis for these information and belief assertions appears in the

12   Complaint.

13   III.    THE GOVERNMENT HAS BEEN AWARE THAT NEXTRACKER IS NOT
             PAYING DUTIES, AND NEXTRACKER’S REQUEST FOR A DEFINITIVE
14           DECISION ON THIS POINT IS CURRENTLY PENDING BEFORE THE
             GOVERNMENT.
15
             A.     The CBP Rejects The Allegation Of Duty Evasion Filed By Relator.
16
             In September 2016, Relator filed with the CBP an Allegation of Duty Evasion on behalf
17
     of Wheatland under the Enforce and Protect Act of 2015 (Pub. L. 114-125) (the “EAPA”).
18
     Compl. ¶¶ 46-48; see also RJN Ex. 1.3
19
             The EAPA Allegation tracks the allegations of the Complaint. Relator, on behalf of
20
     Wheatland, alleged that NEXTracker’s imports were “clearly within the scope of the [Anti-
21
     Dumping/Countervailing Duty] orders on [circular welded carbon quality steel pipe] from
22
     China.” Id. at 1-2.
23
             In support of its EAPA Allegation, Relator attached public import data obtained from the
24
     subscription service Panjiva. Id. at 3, Attachment. Relator’s law firm subsequently supplemented
25

26
     3
       Because Relator makes reference to this filing and the CBP’s determination in his Complaint,
27   this Court may consider the documents in this section as incorporated by reference in the
     Complaint. See, e.g., Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007); In re Static
28
     Random Access Memory (SRAM) Antitrust Litig., 580 F. Supp. 2d 896, 904 n.7 (N.D. Cal. 2008).
                                                                            MOTION TO DISMISS COMPLAINT
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 1   its submission with additional public import data from Panjiva, as well as public import data from

 2   the U.S. International Trade Commission’s (“ITC”) Dataweb and public import volumes from the

 3   DOC Steel Import Monitoring and Analysis, showing the total amount of challenged items

 4   imported. RJN Ex. 2, Attachments 1-3.

 5           On October 17, 2016, the CBP refused to initiate a duty evasion investigation, stating that

 6   “[Wheatland] provided no evidence, beyond its mere supposition, to reasonably suggest that

 7   NEXTracker’s entries were made by a material false statement or act, or material omission, that

 8   resulted in the reduction or avoidance of applicable AD/CVD cash deposits or other security.”

 9   RJN Ex. 3 at 2.
10           B.     NEXTracker Has Requested That DOC Confirm That The Imports At Issue
                    Are Not Dutiable.
11
             The DOC is the government agency responsible for determining whether a particular
12
     product is covered by AC/CVD orders, including A-570-910 and C-570-911. Before the
13
     unsealing of the Complaint,4 on November 3, 2017, NEXTracker submitted a scope ruling request
14
     with the DOC, requesting confirmation that Torque Tubes fall outside the scope of AD/CVD
15
     orders. RJN Ex. 4.5
16
             On November 17, 2017, Relator filed a response to NEXTracker’s scope ruling request on
17
     behalf of Wheatland, urging the DOC to reject NEXTracker’s scope request without instituting a
18
     formal scope inquiry because, Wheatland alleged, NEXTracker’s Torque Tubes are subject to
19
     AD/CVD orders and are not mechanical tubing. RJN Ex. 5.
20
             NEXTracker responded to Wheatland’s submission on December 7, 2017. RJN Ex. 6.
21

22

23
     4
       The Complaint was filed under seal on April 12, 2017. (Dkt. 1). It was not unsealed until
24   December 12, 2017 (Dkt. 14), a full month after NEXTracker filed its scope ruling request with
25   the DOC. RJN Ex. 4.
     5
       The documents referenced in this section are submitted in support of NEXTracker’s request for
26   a stay. Moreover, they are judicially noticeable in the context of a Motion to Dismiss. Courts
     may consider extrinsic evidence that is judicially noticeable. See, e.g., United States v. Ritchie,
27   342 F.3d 903, 908 (9th Cir. 2003) (“A court may, however, consider . . . matters of judicial
     notice—without converting the motion to dismiss into a motion for summary judgment.); Request
28
     for Judicial Notice at 2-3.
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 1              On December 7, 2017, the DOC issued a questionnaire to NEXTracker to develop

 2   additional information. RJN Ex. 7. NEXTracker responded to the questionnaire on February 6,

 3   2018. RJN Ex. 8.

 4              On March 12, 2018, NEXTracker submitted comments to DOC demonstrating

 5   NEXTracker’s Torque Tubes are outside of the scope of orders A-570-910 and C-570-911. RJN

 6   Ex. 9.

 7              The scope ruling request remains pending before the DOC.

 8                                                 ARGUMENT

 9   I.         SUMMARY OF ARGUMENT.
10              “[T]he right to bring qui tam suits is not absolute.” United States ex rel. Bennett v.

11   Biotronik, Inc., 876 F.3d 1011, 1013 (9th Cir. 2017). Here, two bars prevent Relator from

12   sustaining this suit. The lawsuit is barred by the government action bar, 31 U.S.C. § 3730(e)(3)

13   (Section II, A). The claims are also barred by the public disclosure bar. 31 U.S.C. §

14   3730(e)(4)(A). Relator’s claims are based on public information and mathematical calculations

15   based on that public information. The public disclosure bar prohibits FCA claims based on this

16   publicly available information. (Section II, B).

17              Independently, the Complaint should be dismissed because it fails to meet Rule 9(b) and

18   Rule 8 standards. With regard to Rule 9(b), the sole basis for Relator’s claim that NEXTracker’s

19   imports are subject to duties is his “information and belief.” He provides no factual basis for
20   those “information and belief” allegations in violation of Rule 9(b). (Section III, A).

21              The Complaint fails to satisfy Rule 8. A FCA complaint must allege facts that support a

22   plausible inference of scienter, i.e., that NEXTracker knowingly falsely designated its imports

23   and knowingly failed to pay duties. The facts alleged do not allow such an inference. Moreover,

24   because NEXTracker is a corporation, the Complaint must allege facts reflecting that at least one

25   corporate officer had the requisite scienter. The Complaint makes no such allegation. (Section

26   III, B).

27              Finally, even if the Complaint were not dismissed, the case should be stayed. The DOC

28   has before it NEXTracker’s scope ruling request. Relator, on behalf of Wheatland, has
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 1   responded. If, as expected, the DOC confirms that NEXTracker imports fall outside of the scope

 2   of AD/CVD orders, there would be no basis for Relator’s claims. (Section IV). 6

 3   II.     THIS COURT SHOULD DISMISS THE COMPLAINT PURSUANT TO THE
             GOVERNMENT ACTION BAR AND THE PUBLIC DISCLOSURE BAR.
 4
             A.     Relator’s Complaint Should be Dismissed Pursuant To The Government
 5                  Action Bar.
 6           The government action bar is intended to prevent FCA lawsuits based on the same

 7   allegations or transactions known to the government as a result of the government’s having been

 8   party to an a civil law suit or an administrative civil money penalty proceeding. 31 U.S.C. §

 9   3730(e)(3). It is intended to prevent parasitic FCA claims made by relators who do not expose an
10   alleged fraud, but merely parrot it. See United States ex rel. Bennett v. Biotronik, Inc., No. 2:14-

11   CV-02407-KJM-EFB, 2016 WL 1587215, at *8 (E.D. Cal. Apr. 20, 2016), aff’d. 876 F.3d 1011

12   (9th Cir. 2017) (collecting cases and discussing history); Found. For Fair Contracting, Ltd. v. G

13   & M E. Contracting & Double E, LLC, 259 F. Supp. 2d 329, 335 (D.N.J. 2003) (citing cases).

14           As noted, in 2016, Relator, on behalf of Wheatland, filed an EAPA allegation with the

15   CBP claiming that NEXTracker was failing to pay duties on circular welded pipe imported from

16   China. (Section III, B). The CBP’s assessment and disposition of the EAPA proceeding was an

17   “administrative civil money proceeding” for the purposes of the government action bar.

18   Although there is no Ninth Circuit guidance on what constitutes an administrative civil money

19   penalty proceeding, courts in other circuits interpret this term broadly, holding that it includes
20   agency investigations where the agency has the power to collect restitution or damages. Found.

21   For Fair Contracting, Ltd., 259 F. Supp. 2d at 335–38; United States ex rel. Buckley v. Hill &

22   Cox Corp., No. 12-CV-6102, 2014 WL 4425800, at *2–4 (W.D. Ark. Sept. 9, 2014); see also

23   Wichansky v. Zoel Holding Co., No. CV-13-01924-PHX-DGC, 2014 WL 6633513, at *3-4 (D.

24   Ariz. Nov. 24, 2014), rev’d and remanded on other grounds, 702 F. App’x 559 (9th Cir. 2017)

25
     6
26    Even if the DOC decides that NEXTracker’s imports are subject to duties and that duties are
     owed for imports prior to the initiation of the scope request, this FCA claim would still be
27   deficient, assuming that the Complaint is not dismissed for the reasons given in this motion.
     Among other things, Relator would still need to prove that NEXTracker knowingly engaged in the
28
     conduct alleged, i.e., acted with scienter.
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 1   (noting that a Department of Labor investigation constitutes a pending administrative civil money

 2   penalty proceeding, contrary to a state agency investigation).

 3           Here, the EAPA proceeding triggers the government action bar. As its legislative history

 4   makes clear, the EAPA was implemented to “afford the parties an opportunity to participate in the

 5   investigation,” and may lead to “the assessment of civil penalties against importers who evade

 6   [AD/CVD] orders.” Investigation of Claims of Evasion of Antidumping and Countervailing

 7   Duties, 81 Fed. Reg. 56,477 (Aug. 22, 2016). Even though the CBP decided not to pursue civil

 8   money penalties (or even an investigation) based on the allegations Relator submitted on behalf

 9   of Wheatland, the fact that it could have done so if it found Wheatland’s allegations credible is
10   sufficient to bar future qui tam actions under the government action bar. Wichansky, 2014 WL

11   6633513, at *3-4 (finding that Department of Labor investigation barred a subsequent qui tam

12   lawsuit because DOL had the ability to set forth dispute procedures, to refer the matter for

13   restitution or criminal measures, and to conduct investigations for which damages may be

14   assessed).

15           Furthermore, the EAPA proceeding and the Complaint cover the same ground. Both

16   concern whether NEXTracker’s imports are covered by AD/CVD orders.

17           B.     Relator’s Complaint Should Be Dismissed Pursuant to the Public Disclosure
                    Bar.
18
                    1.      Relator’s Complaint Relies on Allegations or Transactions That Were
19                          Publicly Disclosed.
20           Relator concedes that his factual allegations are based on “public records.” Compl. ¶¶ 34,

21   35, 39, 40, 42. Use of publicly available information as the basis for a FCA claim warrants

22   dismissal under the public disclosure bar. See 31 U.S.C. § 3730(e)(4)(A).7

23           The public disclosure bar is properly invoked when a Relator takes available publicly

24

25
     7
26     Section 3730(e)(4)(A) provides that a court, “shall dismiss an action or claim” if “substantially
     the same allegations or transactions as alleged in the action or claim were publicly disclosed” (i)
27   in a “Federal criminal, civil, or administrative hearing in which the Government or its agent is a
     party;” (ii) in a “congressional, Government Accountability Office, or other Federal report,
28
     hearing, audit, or investigation;” or (iii) in the news media.
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 1   available information and asserts, as here, that that information supports a FCA claim.8 This is

 2   true even if the public information is gathered from different sources. The reason for this is as

 3   follows: qui tam suits are not needed where the information is “in the public domain” and “the

 4   government has presumably has chosen not to pursue a suit.” United States ex rel. Doe v. Staples,

 5   Inc., 932 F. Supp. 2d 34, 39-40 (D.D.C. 2013), aff’d, 773 F.3d 83 (D.C. Cir. 2014) (citation

 6   omitted); see also United States ex rel. Stinson, Lyons, Gerlin & Bustamante, P.A. v. Prudential

 7   Ins. Co., 944 F.2d 1149, 1155-56 (3d Cir. 1991) (noting that Section 3730(e)(4) was “designed to

 8   preclude qui tam suits based on information that would have been equally available to strangers to

 9   the fraud transaction had they chosen to look for it as it was to the relator”).
10           Thus, in United States ex rel. Doe v. Staples, 773 F.3d 83, 86-87 (D.C. Cir. 2014), the

11   Court invoked the public disclosure bar to dismiss a FCA claim that was based on publicly

12   disclosed import data, which supplied certain of the information, and publicly available ITC

13   reports, which supplied the remaining data. See also Hagood v. Sonoma Cty. Water Agency, 81

14   F.3d 1465, 1473 (9th Cir. 1996) (noting that the publicly disclosed facts need not be accompanied

15   by “an explicit allegation fraud”); United States ex rel. Silver v. Omnicare, Inc., 222 F. Supp. 3d

16   391, 404 (D.N.J. 2016) (noting that the publicly available information when viewed together

17   provided sufficient information to the government to put it on the trail of fraud).

18           The next question is whether the documents referenced by Relator can be considered the

19   type of information that falls within the scope of section 3730(e)(4)(A). They are. Although
20   Relator does not identify the specific “public documents” on which he relies in the Complaint,

21   Relator’s 2016 EAPA allegation identifies that data as having come from the subscription

22   services Panjiva, ITC Dataweb, and DOC Steel Import Monitoring and Analysis. See RJN Exs. 1

23   & 2.

24           Import manifest information, including that which has been collected and made available

25   8
       The public disclosure bar is an affirmative defense. See Prather v. AT&T, Inc., 847 F.3d 1097,
26   1102 (9th Cir. 2017). However, the argument here is based on the allegations of the Complaint
     and the 2016 EAPA filings of Relator, which filings are properly considered as they are
27   referenced in the Complaint. See supra at n.4. As such, the public disclosure bar is properly
     considered on a motion to dismiss. See, e.g., Jablon v. Dean Witter & Co., 614 F.2d 677, 682
28
     (9th Cir. 1980).
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 1   to the public for purchase, is considered to be publicly disclosed either as news media9 or

 2   administrative reports. See United States ex rel. Customs Fraud Investigations, LLC v. Victaulic

 3   Co., No. 13-2983, 2014 WL 4375638, at *10 (E.D. Pa. Sept. 4, 2014) (holding that “the manifest

 4   data that CFI obtained from Zepol [which] is collected and made available for purchase to both

 5   the press and the public by CBP itself” was public). Shipping data obtained from reports meet

 6   Section 3730(e)(4)(A)’s standards. Staples, Inc., 932 F. Supp. 2d at 40-41 (holding that “shipping

 7   data obtained from reports published by PIERS Global Intelligence Solutions (‘PIERS’), a

 8   company which ‘compiles manifest information submitted to Customs by all shippers’” was

 9   public). Finally, “ITC reports qualify as administrative reports within the meaning of the FCA.”
10   Staples, 773 F.3d at 87. Indeed, manifest information and reports of imports are made public by

11   the CBP itself. 19 C.F.R. §§ 103.31(a) & (e).

12           Given this, the Complaint should be dismissed under the public disclosure bar.

13                    2.    Relator Does Not Fall Within The Exceptions To The Public
                            Disclosure Bar.
14
             An exception to the public disclosure bar exists if the relator is the “original source” of the
15
     information. A relator is an original source if the relator: (1) voluntarily disclosed the
16
     information in question to the government prior to public disclosure; or (2) has independent first-
17
     hand knowledge that materially adds to the publicly available information. 31 U.S.C. §
18
     3730(e)(4)(B).
19
             Relator does not fall within the first exception. The information “disclosed” to the
20
     government was in the public domain prior to Relator’s use of that information to make the
21
     claims here and in the 2016 EAPA filing with the CBP. That is proven by the fact that Relator
22
     actually used the public information to make his assertions here and in the 2016 EAPA filing.
23
     See Section III, A; see also Staples, 773 F.3d at 86-87.
24
              Relator does not qualify for the independent knowledge exception to the public
25

26
     9
      Although “news media” is not defined in the FCA, it is widely acknowledged that the term has a
27   broad sweep. See, e.g., United States ex rel. Kraxberger v. Kansas City Power & Light Co., 756
     F.3d 1075, 1079 (8th Cir. 2014) (citing Schindler Elevator Corp. v. United States ex rel. Kirk,
28
     563 U.S. 401, 408 (2011)).
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 1   disclosure bar either. Independent knowledge must be “firsthand knowledge,” obtained “through

 2   [relator’s] own labor unmediated by anything else,” i.e., not the information in the public.

 3   Prather, 847 F.3d at 1104. It must also be “qualitatively different from information already

 4   discovered and not merely the product and outgrowth of publicly disclosed information.” United

 5   States v. Univ. of Phoenix, No. 2:10-CV-02478-MCE-KJ, 2014 WL 3689764, at *9 (E.D. Cal.

 6   July 24, 2014) (internal quotation marks and citation omitted). Finally, a relator is not deemed to

 7   have independent knowledge merely because the relator has some ability to recognize the legal

 8   consequences of the publicly disclosed information. Prather, 847 F.3d at 1104.

 9          Here, Relator does not purport to add anything that was not already publicly disclosed.
10   His allegations support that fact. The allegations relevant to the charge that NEXTracker has

11   imported and is importing items subject to AD/CVD orders are based on “information and belief”

12   as confirmed by “public records.” Compl. ¶¶ 34, 35, 42. In other words, by Relator’s own

13   allegations, the public records and his information and belief are co-extensive.

14          Relator adds nothing that these public records do not supply except a mathematical

15   calculation derived from “public import data,” and “publicly-available ship manifest

16   information,” Compl. ¶ 42, which Relator uses to then calculate an amount allegedly owed.

17   Compl. ¶¶ 44-45. That is not sufficient for Relator to be considered to have independent

18   knowledge. United States ex rel. Ondis v. City of Woonsocket, 587 F.3d 49, 59 (1st Cir. 2009)

19   (characterizing the argument that a relator’s expertise gave relator unique insight into the fraud as
20   “whistling past the graveyard”); United States ex rel. Alcohol Found., Inc. v. Kalmanovitz

21   Charitable Found., Inc., 186 F. Supp. 2d 458, 463 (S.D.N.Y.), aff’d, 53 F. App’x 153 (2d Cir.

22   2002) (rejecting argument that relator’s use of expertise to create compilation of public

23   information transformed relator into an “original source”); Staples, Inc., 932 F. Supp. 2d at 41

24   (noting that a relator is not an original source “simply because he conducted some collateral

25   research and had background knowledge that allowed him to understand the significance of

26   publicly disclosed information”) (citation omitted).

27          Accordingly, the public disclosure bar precludes Relator from bringing his claims, and his

28   Complaint should therefore be dismissed.
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 1   III.   RELATOR’S COMPLAINT SHOULD BE DISMISSED UNDER RULES 8, 9(B)
            AND 12(B)(6) FOR FAILURE TO STATE A CLAIM.
 2
            A.      Relator’s Complaint Fails to Meet Rule 9(b) Pleading Standards.
 3
            Claims under the FCA, including reverse FCA claims, are subject to Rule 9(b)’s
 4
     heightened pleading standard. United States ex rel. Cafasso v. General Dynamics C4 Systems,
 5
     Inc., 637 F.3d 1047, 1055 (9th Cir. 2011). Rule 9(b) imposes this requirement “to deter the filing
 6
     of complaints as a pretext for the discovery of unknown wrongs, to protect defendants from the
 7
     harm that comes from being subject to fraud charges, and to prohibit plaintiffs from unilaterally
 8
     imposing upon the court, the parties and society enormous social and economic costs absent some
 9
     factual basis.” United States v. United Healthcare Ins. Co., 848 F.3d 1161, 1180 (9th Cir. 2016)
10
     (citation omitted). Generally, then, courts require that a relator specifically allege “the who, what,
11
     when, where and how of the misconduct charged.” General Dynamics C4 Systems, 637 F.3d at
12
     1055 (citation omitted).
13
            Under this standard, courts require that allegations based on “information and belief”
14
     specifically allege, inter alia, the facts upon which a plaintiff’s information and belief is based.
15
     Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993) (noting that even if matters are exclusively
16
     in control of defendant “a plaintiff who makes allegations on information and belief must state the
17
     factual basis for the belief”); California ex rel. Mueller v. Walgreen Corp., 175 F.R.D. 631, 635–
18
     36 (N.D. Cal. 1997) (noting same in FCA context); see also, e.g., United States ex rel. Thompson
19
     v. Columbia/HCA Healthcare Corp., 125 F.3d 899 (5th Cir. 1997) (same). As to the very crux of
20
     Relator’s FCA claim, there are no allegations that satisfy this standard.
21
            The crux of the Complaint is that the scope of the AD/CVD orders cover NEXTracker
22
     imports and that those products do not fall within any scope exclusion. Compl. ¶¶ 36, 38.
23
     Relator provides no basis for these conclusory allegations except to assert that they are based on
24
     “information and belief.” There is no allegation that provides any hint of the basis for the
25
     “information and belief” allegations. They are simply asserted ipse dixit, which Rule 9(b) does
26
     not allow. Lacking any valid allegation in this regard, there is literally is no claim.
27
            Walgreen is instructive in this regard. 175 F.R.D. at 635–36. Walgreen notes that such
28
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 1   allegations must include factual support, such as the source and reliability of such claims. Id. In

 2   Walgreen, the relator at least claimed to have talked to persons about the alleged fraud—there are

 3   no such allegations here. Still, that was not enough because there was no indication that the

 4   persons to whom relator spoke knew anything about the alleged fraud. Id. Also, critically, and

 5   what maps on to this case, the heart of the fraud—that Medi-Cal remained unreimbursed—was

 6   alleged only on “information and belief.” Id. The court rejected this allegation as insufficient.10

 7          For these reasons, the Complaint should be dismissed for failure to satisfy Rule 9(b)’s

 8   pleading requirements.

 9          B.      The Complaint Alleges No Facts from which Scienter can be Inferred, Failing
                    Rule 8 Pleading Requirements.
10
            The FCA has a scienter requirement. It is intended to punish knowingly false conduct,
11
     i.e., conduct engaged in “with knowledge of the falsity and with intent to deceive.” United States
12
     ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166, 1172 (9th Cir. 2006) (citation omitted). This
13
     is true whether the claims are brought under 31 U.S.C. § 3729(a)(1)(A), which prohibits the
14
     knowing presentment of a false claim, or 31 U.S.C. § 3729(a)(1)(G), which prohibits the knowing
15
     concealment of an obligation to pay the government. See General Dynamics C4 Systems, 637
16
     F.3d at 1056; United States ex rel. Kelly v. Serco, Inc., 846 F.3d 325, 335-36 (9th Cir. 2017).
17
            What the FCA is not intended to do is hold a defendant liable for acts engaged in without
18
     the necessary scienter. It is not meant to “punish honest mistakes or incorrect claims submitted
19
     through mere negligence.” United States ex rel. Hochman v. Nackman, 145 F.3d 1069, 1073 (9th
20
     Cir. 1998). It is not intended to reach “differences in interpretations.” United States v.
21
     Corinthian Colleges, 655 F.3d 984, 996 (9th Cir. 2011). Nor is it intended to bring within its
22
     ambit a “breach of contract, or violation of regulations or law . . .” unless a defendant has acted
23
     with the appropriate scienter. Univ. of Phoenix, 461 F.3d at 1171.
24
            Against this backdrop, Relator’s allegations fail. While allegations of scienter do not need
25
     to be alleged with specificity, a complaint must still plead sufficient facts that give rise to a
26

27   10
       Relator claims that “discovery will reveal and confirm the truth of these allegations. . . .”
     Compl. ¶ 49. However, Rule 9 is intended to prevent that type of tactic. See, e.g., United
28
     Healthcare Ins. Co., 848 F.3d at 1180.
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 1   plausible inference of scienter. Corinthian Colleges, 655 F.3d at 997; United States v. Honeywell

 2   Int’l, Inc., LA CV12-02214 JAK (JCGx), 2014 WL 12579803, at *3-4 (C.D. Cal. Jan. 24, 2014).

 3   Here there are no such allegations.

 4          Relator simply makes the conclusory allegation that NEXTracker “knowingly, but falsely,

 5   designated its imported good as ‘non-subject’” to antidumping and countervailing duties. Compl.

 6   ¶ 36. Missing entirely is any surrounding factual basis from which this Court can draw an

 7   inference that this allegation has a colorable basis, i.e., that NEXTracker engaged in this conduct

 8   with the scienter required by the FCA. Merely alleging that defendants acted falsely does not

 9   satisfy this standard. Corinthian Colleges, 655 F.3d at 997 (granting motion to dismiss); United
10   States ex rel. Modglin v. DJO Global Inc., 114 F. Supp. 3d 993, 1024 (C.D. Cal. 2015), aff'd sub

11   nom. United States v. DJO Global, Inc., 678 F. App'x 594 (9th Cir. 2017) (same).

12          This is all the more true when the defendant is a corporation. A complaint may not rely

13   on a “collective scienter theory,” one which simply alleges that a corporation has acted with the

14   requisite scienter. Nordstrom, Inc. v. Chubb & Son, Inc., 54 F.3d 1424, 1435 (9th Cir. 1995)

15   (fraud claim); United States v. Sci. Applications Int’l Corp., 626 F.3d 1257, 1274-75 (D.C. Cir.

16   2010) (FCA claim); United States ex rel. Harrison v. Westinghouse Savannah River Co., 352

17   F.3d 908, 917-18 (4th Cir. 2003) (FCA claim). Instead, a relator “must sufficiently plead that at

18   least one of the corporation’s officers had the requisite scienter at the time they made the

19   allegedly misleading statements.” United States v. Scan Health Plan, CV 09-5013-JFW (JEMx),
20   2017 WL 4564722, at *5 (N.D. Cal. Oct. 5, 2017) (quoting In re Int’l Rectifier Corp. Litig., No.

21   CV 07-02544-JFW (VBKx), 2008 WL 4555794, at * 21 (C.D. Cal. May 23, 2008)). This is so

22   because allowing such allegations to go forward allows a relator “to prove scienter by piecing

23   together scraps of ‘innocent’ knowledge held by various corporate officials, even if those officials

24   never had contact with each other or knew what others were doing in connection with a claim

25   seeking government funds.” Sci. Applications Int’l Corp., 626 F.3d at 1275 (quoting

26   Westinghouse Savannah River Co., 352 F.3d at 918 n. 9).

27          Relator has made no factual allegations even suggesting that NEXTracker engaged in

28   conduct “with knowledge of the falsity and with intent to deceive.” Univ. of Phoenix, 461 F.3d at
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 1   117 (citation omitted).

 2          The Complaint should be dismissed for this reason as well.

 3   IV.    IN THE ALTERNATIVE, THE COURT SHOULD STAY RELATOR’S
            COMPLAINT UNDER THE PRIMARY JURISDICTION DOCTRINE.
 4
            In the alternative, the Court should stay this case pursuant to the primary jurisdiction
 5
     doctrine. Under this doctrine, the Court may issue a stay if there is: “(1) a need to resolve an
 6
     issue that (2) has been placed by Congress within the jurisdiction of an administrative body
 7
     having regulatory authority (3) pursuant to a statute that subjects an industry or activity to a
 8
     comprehensive regulatory authority that (4) requires expertise or uniformity in administration.”
 9
     Clark v. Time Warner Cable, 523 F.3d 1110, 1115 (9th Cir. 2008) (citation omitted).
10
            This doctrine has been applied to stay FCA claims. United States v. Dan Caputo Co., 152
11
     F.3d 1060 (9th Cir. 1998). And it should be applied here.
12
            Presently pending before the DOC is NEXTracker’s request for a ruling confirming that
13
     Torque Tubes fall outside of the scope of AD/CVD orders A-570-910 and C-570-911. The
14
     antidumping and countervailing duty laws make the DOC, through the scope ruling process, the
15
     definitive arbiter of whether an antidumping or countervailing duty order covers any given
16
     merchandise. 19 C.F.R. § 351.225.
17
            These circumstances counsel for a stay. Davel Commc’ns, Inc. v. Qwest Corp., 460 F.3d
18
     1075, 1089 (9th Cir. 2006) (“Both this court and the Supreme Court have held that the
19
     interpretation of an agency order issued pursuant to the agency's congressionally granted
20
     regulatory authority falls within the agency's primary jurisdiction where the order reflects policy
21
     concerns or issues requiring uniform resolution.”); see also United States v. W. Pac. R.R. Co., 352
22
     U.S. 59, 67 (1956) (“Do the factors which make for high costs and therefore high rates on
23
     incendiary bombs also call for a high rate on steel casings filled with napalm gel? To answer that
24
     question there must be close familiarity with these factors. Such familiarity is possessed not by
25
     the courts but by the agency which had the exclusive power to pass on the rate in the first
26
     instance. And, on the other hand, to decide the question of the scope of this tariff without
27
     consideration of the factors and purposes underlying the terminology employed would make the
28
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 1   process of adjudication little more than an exercise in semantics.”).

 2          Additionally, the DOC’s decision could well be dispositive of this case. If the DOC

 3   agrees that Torque Tubes fall outside of the scope of the AD/CVD orders this case is over.11

 4          Finally, while it should not matter, but in case it does: (1) NEXTracker filed its scope

 5   request with the DOC before the unsealing of the Complaint. Therefore, NEXTracker did not file

 6   its request in hopes of staying the Complaint. (2) As noted, Relator, on behalf of his client

 7   Wheatland, has filed papers with the DOC. So, to the extent the Court is concerned that

 8   NEXTracker is muzzling him, clearly that is not the case.

 9                                            CONCLUSION
10          For the reasons set forth above, NEXTracker respectfully respects that the Court dismiss

11   Relator’s Complaint, or, in the alternative, stay this case pending the conclusion of the scope

12   review by the U.S. Department of Commerce.

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     Dated: March 12, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP
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                                                      By:            /s/ Warrington Parker
16                                                                  WARRINGTON PARKER
17                                                                 Attorneys for Defendant
                                                                      NEXTracker, Inc.
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       Even should the DOC decide against NEXTracker, and assuming the Complaint can survive a
     motion to dismiss, any FCA claim would need to be adjudicated. At the least, Relator would
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     need to prove scienter.
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